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                       UNITED STATES BANKRUPTCY COURT
                                   FOR THE
                        WESTERN DISTRICT OF KENTUCKY

   IN RE:                                        )
                                                 )
   JOHN E TAYLOR JR                              )             CASE NO: 17-31908
                                                 )
                         DEBTOR(s)               )

                         SCHEDULE OF ALLOWED CLAIMS

          The debtor(s), JOHN E TAYLOR JR, states that the following claims have been
   duly proven and should be allowed as unsecured and paid in accordance with the Order
   of Confirmation:

   CLAIM #2-Motion will be filed

   Bank of America
   PO Box 15102
   Wilmington, DE 19886
   Pay: $15,355.96 Unsecured
   Account #3332

   Quantum3 Group
   PO Box 788
   Kirkland, WA 98083
   Pay: $2,831.98 Unsecured
   Account #2690

   Georgia Power Company
   2500 Patrick Henry Parkway
   McDonough, GA 30253
   Pay: $199.01 Unsecured
   Account #3627

   Capital One Bank
   PO Box 82609
   Lincoln, NE 68501
   Pay: $3,357.85 Unsecured
   Account #6963
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   DIRECTV
   PO Box 5008
   Carol Stream, IL 60197
   Pay: $743.42 Unsecured
   Account #6665

   USAA Savings Bank
   c/o Weinstein and Riley
   PO Box 3978
   Seattle, WA 98124
   Pay: $15,247.32 Unsecured
   Account #0197




   This 2nd day of November, 2017.
                                     /s/ Kimberly L. Staples
                                     KIMBERLY L. STAPLES
                                     MUSSELWHITE, MEINHART & STAPLES
                                     385 WEST LINCOLN TRAIL BLVD.
                                     RADCLIFF, KY 40160
                                     270-351-6032
